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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ROME DIVISION

           JAVIER RIVERA-BENITO                 :      MOTION TO VACATE
           a/k/a VENINO VARGAS,                 :      28 U.S.C. § 2255
           BOP No. 58470-019,                   :
                  Movant,                       :
                                                :      CRIMINAL ACTION NO.
                 v.                             :      4:10-CR-19-RLV-WEJ-2
                                                :
           UNITED STATES OF AMERICA,            :      CIVIL ACTION NO.
               Respondent.                      :      4:12-CV-109-RLV-WEJ

                           FINAL REPORT AND RECOMMENDATION

                 Movant, Javier Rivera-Benito, represented by counsel, has filed a Motion Under

           28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

           Custody [146] (“Motion to Vacate”), and a Brief in Support [154]. Respondent has

           filed a Response in Opposition. [160] For the reasons stated below, the undersigned

           RECOMMENDS that the Motion to Vacate be DENIED.

           I.    PROCEDURAL HISTORY

                 Mr. Rivera-Benito was one of five defendants indicted in the Northern District

           of Georgia on May 20, 2010 on multiple counts of drug and immigration offenses.

           (Indict. [1].) Mr. Rivera-Benito was charged with the following offenses: (1)

           conspiracy to possess with intent to distribute methamphetamine and cocaine, in

           violation of 21 U.S.C. §§ 841(b)(1)(A)(viii), 841(b)(1)(C), & 846 (count one); (2)


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           possession with intent to distribute methamphetamine, in violation of 18 U.S.C. § 2 and

           21 U.S.C. §§ 841(a)(1) & 841(b)(1)(C) (count eleven); (3) possession with intent to

           distribute 500 grams or more of methamphetamine, in violation of 18 U.S.C. § 2 and

           21 U.S.C. §§ 841(a)(1) & 841(b)(1)(A)(viii) (count twelve); and (4) illegal re-entry

           following deportation, in violation of 8 U.S.C. §§ 1326(a) & (b)(2) (count fourteen).

           (Id. at 1-2, 5-6, 7.)

                  On March 2, 2011, Mr. Rivera-Benito pleaded guilty to counts twelve and

           fourteen pursuant to a negotiated plea agreement in which the government dismissed

           the remaining counts. [96, 97] On May 12, 2011, the Court sentenced Mr. Rivera-

           Benito to a total term of imprisonment of 121 months followed by five years of

           supervised release. [121] Mr. Rivera-Benito did not appeal, but he timely filed his

           Motion to Vacate on May 10, 2012, within the one-year period of limitation provided

           by 28 U.S.C. § 2255(f).

           II.    STANDARD OF REVIEW

                  A motion to vacate, set aside, or correct a sentence may be made “upon the

           ground that the sentence was imposed in violation of the Constitution or laws of the

           United States, or that the court was without jurisdiction to impose such sentence, or that

           the sentence was in excess of the maximum authorized by law, or is otherwise subject

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           to collateral attack . . . .” 28 U.S.C. § 2255(a). “[C]ollateral review is not a substitute

           for a direct appeal . . . .” Lynn v. United States, 365 F.3d 1225, 1232 (11th Cir. 2004)

           (per curiam). Section 2255 relief “is reserved for transgressions of constitutional rights

           and for that narrow compass of other injury that could not have been raised on direct

           appeal and would, if condoned, result in a complete miscarriage of justice.” Richards

           v. United States, 837 F.2d 965, 966 (11th Cir. 1988) (per curiam) (quoting United

           States v. Capua, 656 F.2d 1033, 1037 (5th Cir. Unit A Sept. 1981)).

                 “Generally, if a challenge to a conviction or sentence is not made on direct

           appeal, it will be procedurally barred in a 28 U.S.C. § 2255 challenge” unless the

           movant “overcome[s] this procedural default by showing both cause for his default as

           well as demonstrating actual prejudice suffered as a result of the alleged error.” Black

           v. United States, 373 F.3d 1140, 1142 (11th Cir. 2004). “[T]o show cause for

           procedural default, [a § 2255 movant] must show that some objective factor external

           to the defense prevented [him] or his counsel from raising his claims on direct appeal

           and that this factor cannot be fairly attributable to [his] own conduct.” Lynn, 365 F.3d

           at 1235. To demonstrate actual prejudice, a movant must show that the alleged error

           “worked to his actual and substantial disadvantage, infecting his entire trial with error

           of constitutional dimensions.” Reece v. United States, 119 F.3d 1462, 1467 (11th Cir.

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           1997) (quoting United States v. Frady, 456 U.S. 152, 170 (1982)). As an alternative

           to showing cause and actual prejudice, a § 2255 movant may overcome a procedural

           default if “a constitutional violation has probably resulted in the conviction of one who

           is actually innocent.” Lynn, 365 F.3d at 1234-35 (quoting Mills v. United States, 36

           F.3d 1052, 1055 (11th Cir. 1994) (per curiam)) (internal quotation marks omitted).

           “[A]ctual innocence means factual innocence, not mere legal innocence.” Id. at 1235

           n.18 (citing Bousley v. United States, 523 U.S. 614, 623 (1998)) (internal quotation

           marks omitted).      Despite the procedural default rule, “failure to raise an

           ineffective-assistance-of-counsel claim on direct appeal does not bar the claim from

           being brought in a later, appropriate proceeding under § 2255.” Massaro v. United

           States, 538 U.S. 500, 509 (2003).

                 A § 2255 movant “has the burden of sustaining his contentions by a

           preponderance of the evidence.” Tarver v. United States, 344 F. App’x 581, 582 (11th

           Cir. 2009) (per curiam) (quoting Wright v. United States, 624 F.2d 557, 558 (5th Cir.

           1980)). However, the Court need not conduct an evidentiary hearing when “the motion

           and the files and records of the case conclusively show that the prisoner is entitled to

           no relief . . . .” 28 U.S.C. § 2255(b). The undersigned REPORTS that an evidentiary




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           hearing is not needed because the § 2255 motion and record in this case conclusively

           show that Mr. Rivera-Benito is not entitled to relief.

           III.   DISCUSSION

                  Mr. Rivera-Benito asserts four grounds in his Motion to Vacate: (1) he “was

           incompetent to enter a plea because of his mental retardation”; (2) “counsel was

           ineffective for failing to investigate [Mr. Rivera-Benito’s] mental retardation and for

           failing to litigate issues surrounding [his] mental retardation”; (3) his “guilty plea was

           not knowingly, intelligently, and voluntarily entered”; and (4) the Court “failed to

           inquire about [Mr. Rivera-Benito’s] competency prior to accepting the guilty plea.”

           (Mot. Vacate 4-9.)

                  A.    Competency

                  Because Mr. Rivera-Benito’s first and fourth grounds concern his competency

           to plead guilty, the undersigned addresses them together, beginning with the fourth

           ground. Mr. Rivera-Benito’s claim that the Court should have conducted a competency

           hearing is a procedural competency claim pursuant to Pate v. Robinson, 383 U.S. 375

           (1966). See James v. Singletary, 957 F.2d 1562, 1569-71 (11th Cir. 1992). A

           procedural competency claim “can and must be raised on direct appeal.” Id. at 1572.

           Mr. Rivera-Benito did not appeal, and therefore, his procedural competency claim is

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           procedurally defaulted.1 He does not attempt to overcome the default by showing cause

           and actual prejudice or demonstrating actual innocence. Accordingly, ground four fails.

                 Ground one, in which Mr. Rivera-Benito asserts that he was incompetent when

           he pleaded guilty, is a substantive competency claim. See James, 957 F.2d at 1571.

           “[T]his kind of claim is not subject to procedural default and must be considered on the

           merits.” Battle v. United States, 419 F.3d 1292, 1298 (11th Cir. 2005) (per curiam)

           (internal quotation marks omitted).2

                 Incompetency means ‘suffering from a mental disease or defect rendering
                 [defendant] mentally incompetent to the extent that he is unable to
                 understand the nature and consequences of the proceedings against him
                 or to assist properly in his defense.’ 18 U.S.C. § 4241(a). [A movant]
                 raising a substantive claim of incompetency is entitled to no presumption
                 of incompetency and must demonstrate [his] incompetency by a
                 preponderance of the evidence. . . . To show entitlement to a hearing on
                 his substantive incompetency claim, [movant] must present clear and


                 1
                   Mr. Rivera-Benito’s plea agreement contained an appeal waiver, but such a
           provision “cannot serve to bar [defendant’s] claim that he was incompetent to plead
           guilty and be sentenced.” United States v. Johns, 390 F. App’x 963, 969 n.2 (11th Cir.
           2010) (per curiam). The “waiver itself would be invalid if [defendant] lacked the
           mental competence to understand and appreciate the nature and consequences of the
           plea agreement.” Id. Therefore, despite the appeal waiver, Mr. Rivera-Benito could
           have raised his procedural competency claim on appeal.
                 2
                  The government argues that the appeal waiver in Mr. Rivera-Benito’s plea
           agreement prevents him from pursuing his substantive competency claim in his Motion
           to Vacate (see Resp’t Resp. 12), but that argument is incorrect. See Johns, 390 F.
           App’x at 969 n.2.

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                 convincing evidence creating a real, substantial and legitimate doubt
                 [about] his competence to stand trial. . . . This standard of proof is high;
                 and the facts must positively, unequivocally, and clearly generate the
                 legitimate doubt.

           Id. at 1298-99 (citations and internal quotation marks omitted). Mr. Rivera-Benito’s

           evidence consists of psychological evaluations by Dr. Jorge A. Herrera and Dr. Adriana

           L. Flores, and the transcript of the plea colloquy.

                         1.    Dr. Herrera

                 Dr. Herrera evaluated Mr. Rivera-Benito on March 20, 2007 in connection with

           his sentencing in an earlier criminal case.3 Mr. Rivera-Benito cites Dr. Herrera’s

           conclusion:

                 Mr. [Rivera-Benito] has a basic notion of the role of the prosecutor, the
                 defense attorney, the judge, and the jury. In terms of his ability to assist
                 his attorney in his own defense, Mr. [Rivera-Benito] thinks and speaks
                 concretely and at a level consistent with low level of education and
                 intellectual functioning. However, so long as counsel provides repeated
                 explanations of concepts and spends sufficient time with Mr. [Rivera-
                 Benito, he] appears to be able to assist his attorney.

           (Movant’s Br. 9.)

                 3
                   Mr. Rivera-Benito pleaded guilty to possession of a firearm by an illegal alien
           and illegal re-entry following deportation and was sentenced to 27 months
           imprisonment followed by three years of supervised release. See Judgment, United
           States v. Vargas, No. 1:06-cr-403-WSD-AJB-1 (N.D. Ga. June 29, 2007). Mr. Rivera-
           Benito was indicted, convicted, and sentenced as Venino Vargas a/k/a Javier Rivera-
           Benito.

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                        2.     Dr. Flores

                 Dr. Flores evaluated Mr. Rivera-Benito on June 27, 2011, nearly four months

           after he pleaded guilty in the present case. Mr. Rivera-Benito’s current counsel

           requested the evaluation to (1) prepare for Mr. Rivera-Benito’s supervised release

           revocation hearing in his earlier case and (2) review his guilty plea in this case. (See

           Movant’s Ex. [146-1] 1.) Dr. Flores explained that Mr. Rivera-Benito was raised in

           Mexico in a small village on a mountain, and that he did not have formal schooling.

           (Id. at 2.) According to Dr. Flores, Mr. Rivera-Benito had suffered a head injury “from

           falling on rocks, at the age of eight or so,” but no medical treatment was available in

           his village. (Id. at 2-3.) Dr. Flores noted Dr. Herrera’s testing findings that Mr. Rivera-

           Benito’s “intellectual functioning fell within the Moderate Mental Retardation range.”

           (Id. at 3.) Dr. Flores stated that Mr. Rivera-Benito’s memory was poor and that she

           needed to repeat many questions for him. (Id. at 5-7.)

                 In discussing supervised release, Dr. Flores found that Mr. Rivera-Benito “was

           not aware that he was on supervised release,” “did not understand what supervised

           release meant,” and “did not know the conditions of his supervised release.” (Movant’s

           Ex. 7.) Nevertheless, Mr. Rivera-Benito “demonstrated some understanding” after Dr.

           Flores explained those issues. (Id.) Mr. Rivera-Benito was able to define guilty and

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           not guilty pleas and knew the roles of the prosecutor, defense attorney, and judge. (Id.

           at 8.) After Dr. Flores explained plea bargaining and the trial process, Mr. Rivera-

           Benito demonstrated adequate or fair understanding. (Id.) Dr. Flores concluded that

           Mr. Rivera-Benito had sufficient understanding and verbal skills to assist counsel in the

           supervised release revocation hearing despite his cognitive limitations. (Id.) Dr. Flores

           was concerned by counsel’s report that Mr. Rivera-Benito “lost the knowledge” that Dr.

           Flores had given him “in less than 10 days,” but she was not surprised because of “the

           extent of his cognitive deficits.” (Id. at 8-9.) Because Dr. Flores believed that a

           supervised release revocation hearing was “fairly basic,” she concluded that Mr.

           Rivera-Benito was competent to proceed with that hearing. (Id.)

                 In discussing the guilty plea in this case, Dr. Flores noted Mr. Rivera-Benito’s

           knowledge that he had pleaded guilty to “a drug-related offense,” but he denied guilt

           and “did not know the exact drug offense.” (Movant’s Ex. 9.) When Dr. Flores

           explained that the offense involved methamphetamine, Mr. Rivera-Benito “knew it was

           a drug but did not know what it was.” (Id.) Dr. Flores stated: “[I]t does not appear that

           [Mr. Rivera-Benito] understood the evidence against him and . . . he did not have the

           ability to weigh this information . . . .” (Id.) Dr. Flores explained the concept of

           conspiracy several times, but Mr. Rivera-Benito could not grasp the idea. (Id.) Mr.

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           Rivera-Benito “demonstrated poor understanding of the adversarial nature of the legal

           process” until Dr. Flores explained it. (Id. at 10.) Dr. Flores stated that Mr. Rivera-

           Benito did not understand or “fully appreciate” the concepts of the trial, jury, witnesses,

           evidence, plea bargaining, and appeal when he pleaded guilty nearly four months before

           the evaluation. (Id.) Dr. Flores indicated that the severity of the charges bears on

           competence, and that Mr. Rivera-Benito lacked the necessary verbal and abstract

           reasoning skills when he pleaded guilty to the “more complicated charges” in this case.

           (Id. at 10-11.) Therefore, Dr. Flores concluded that Mr. Rivera-Benito was not

           competent to have pleaded guilty. (Id. at 11.) However, Dr. Flores observed that

           “competency is a ‘here and now’ factor,” and she did not explore whether that

           observation cast doubt on her conclusion regarding Mr. Rivera-Benito’s competency

           in the past. (Id. at 10.)

                         3.     Plea Colloquy4

                  By the undersigned’s count, Mr. Rivera-Benito asked the Court for clarification

           or stated that he did not understand the question or had forgotten something nine times

           during the plea colloquy. (See Tr. [133] 4, 6-10, 12.) After the Court restated the


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                   During the plea colloquy, Mr. Rivera-Benito agreed that his “true name” is
           Jesus Santana-Rivera. (Tr. [133] 2.)

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           question or provided further explanation, Mr. Rivera-Benito answered the question,

           indicating that he understood in all nine of those instances. (Id.) In contrast, Mr.

           Rivera-Benito answered the Court’s questions without the need for clarification or

           further explanation thirty-six other times during the plea colloquy.5 (Id. at 4-10, 12-16,

           19.) Mr. Rivera-Benito stated that he understood the charges and the plea agreement,

           discussed the case with counsel, and was guilty. (Id. at 5-7, 19.)

                        4.     Analysis

                 The following evidence supports Mr. Rivera-Benito’s competency to plead guilty

           in this case. Dr. Herrera found that despite Mr. Rivera-Benito’s moderate mental

           retardation, he had a basic understanding of the trial process and could assist his

           attorney as long as he received repeated explanations and sufficient time. (Movant’s

           Br. 9.) “Mental retardation alone does not make a person incompetent to stand trial.”

           United States v. Glaspy, 401 F. App’x 430, 432 (11th Cir. 2010) (per curiam) (citing

           Atkins v. Virginia, 536 U.S. 304, 318 (2002)). Dr. Flores also found that Mr. Rivera-

           Benito could understand plea bargaining and the trial process after those subjects were

           explained to him. (Movant’s Ex. 8.) Even though Mr. Rivera-Benito could not


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                  The total of thirty-six times does not include the nine instances in which Mr.
           Rivera-Benito answered the questions that the Court repeated.

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           remember the relevant information less than ten days later, Dr. Flores nonetheless

           determined that Mr. Rivera-Benito was competent to proceed with his supervised

           release revocation hearing. (Id. at 8-9.) During the plea colloquy in this case, Mr.

           Rivera-Benito answered the Court’s questions without the need for clarification or

           further explanation four times as often as he requested clarification or further

           explanation. (See supra Part III.A.3.) When Mr. Rivera-Benito received clarification

           or further explanation from the Court, he answered the question, indicating that he

           understood. (Id.)

                 The only evidence raising some doubt regarding Mr. Rivera-Benito’s

           competency is Dr. Flores’s retrospective evaluation in this case. Although Dr. Flores

           stated that “competency is a ‘here and now’ factor,” she did not explain how she could

           determine that Mr. Rivera-Benito was incompetent to plead guilty in this case almost

           four months before the evaluation. (Movant’s Ex. 10.) Dr. Flores noted that Mr.

           Rivera-Benito “did not know [his] exact drug offense” and did not know anything about

           methamphetamine other than that it is a drug, but even a convicted defendant without

           cognitive deficits would not necessarily have that knowledge. (Id. at 9.) Dr. Flores

           attributed Mr. Rivera-Benito’s poor understanding of legal concepts in this case to

           incompetency, but Dr. Flores failed to consider the alternative explanation of poor

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           memory, despite her own observation of that trait in Mr. Rivera-Benito and her use of

           that explanation in the supervised release revocation case. (Id. at 6, 8-11.) “[L]ack of

           memory does not necessarily negate [the] ability to assist counsel and understand the

           proceedings.” United States v. Dewhart, No. 2:06-CR-94-WKW, 2009 WL 1850181,

           at *3 (M.D. Ala. June 26, 2009).        Dr. Flores’s evaluation was thus internally

           inconsistent.

                 Dr. Flores emphasized that the charges to which Mr. Rivera-Benito pleaded

           guilty in this case were “more complicated” than a charge of violating the terms of

           supervised release, thus requiring higher verbal and abstract reasoning skills than he

           could demonstrate. (Movant’s Ex. 10-11.) However, Dr. Flores found that Mr. Rivera-

           Benito could understand plea bargaining and the trial process after those subjects were

           explained to him. (Id. at 8.) That finding was not dependent on the complexity of the

           specific charge. (Id.) Furthermore, one of the two charges in this case was illegal re-

           entry following deportation, the same charge to which Mr. Rivera-Benito had pleaded

           guilty in 2007, when Dr. Herrera found that Mr. Rivera-Benito was competent. (See

           supra note 3.)     The undersigned recognizes that Dr. Flores expressed some

           disagreement with Dr. Herrera’s conclusion. (Movant’s Ex. 11-12.) “[F]aced with

           diametrically opposite expert testimony, a district court does not clearly err simply by

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           crediting one opinion over another where other record evidence exists to support the

           conclusion.” Battle, 419 F.3d at 1299 (citing and quoting Johnston v. Singletary, 162

           F.3d 630, 639 (11th Cir. 1998)) (internal quotation marks omitted). Dr. Herrera’s

           opinion is consistent with Mr. Rivera-Benito’s behavior during the plea colloquy in this

           case, when he answered the Court’s questions without the need for clarification or

           further explanation four times as often as he requested clarification or further

           explanation. (See supra Part III.A.3.) Dr. Herrera’s opinion is also consistent with Dr.

           Flores’s finding regarding Mr. Rivera-Benito’s ability to understand plea bargaining

           and the trial process following explanation. (Movant’s Ex. 8.)

                 Although Dr. Flores’s retrospective evaluation raises some doubt, it does not

           satisfy the high standard for entitlement to an evidentiary hearing. The evaluation does

           not constitute “clear and convincing evidence creating a real, substantial and legitimate

           doubt” regarding Mr. Rivera-Benito’s competency to plead guilty. Battle, 419 F.3d at

           1299. Mr. Rivera-Benito has not demonstrated his incompetency by a preponderance

           of the evidence. Id. at 1298. Therefore, Mr. Rivera-Benito’s substantive competency

           claim (ground one) fails.




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                 B.     Ineffective Assistance of Counsel

                 In ground two, Mr. Rivera-Benito claims that his trial counsel provided

           ineffective assistance. In order to demonstrate ineffective assistance of counsel, a

           convicted defendant must show that (1) “counsel’s performance was deficient” and (2)

           “the deficient performance prejudiced the defense.” Strickland v. Washington, 466

           U.S. 668, 687 (1984). As to the first prong, “a court must indulge a strong presumption

           that counsel’s conduct falls within the wide range of reasonable professional assistance;

           that is, the defendant must overcome the presumption that, under the circumstances, the

           challenged action might be considered sound trial strategy.” Id. at 689 (internal

           quotation marks omitted). As to the second prong, “[t]he defendant must show that

           there is a reasonable probability that, but for counsel’s unprofessional errors, the result

           of the proceeding would have been different. A reasonable probability is a probability

           sufficient to undermine confidence in the outcome.” Id. at 694. A court may consider

           either prong first and need not address the other “if the defendant makes an insufficient

           showing on one.” Id. at 697.

                 “[C]ounsel owes a lesser duty to a client who pleads guilty than to one who

           decides to go to trial, and in the former case counsel need only provide his client with

           an understanding of the law in relation to the facts, so that the accused may make an

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           informed and conscious choice between accepting the prosecution’s offer and going to

           trial.” Searcy v. Fla. Dep’t of Corr., 485 F. App’x 992, 997 (11th Cir. 2012) (per

           curiam) (quoting Wofford v. Wainwright, 748 F.2d 1505, 1508 (11th Cir. 1984) (per

           curiam)) (internal quotation marks omitted). A defendant who has pleaded guilty must

           satisfy the second prong of Strickland by showing that “there is a reasonable probability

           that, but for counsel’s errors, he would not have pleaded guilty and would have insisted

           on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

                 Mr. Rivera-Benito argues that his counsel was deficient because he first learned

           of Mr. Rivera-Benito’s mental retardation when reading the presentence investigation

           report. (Movant’s Br. 20.) Mr. Rivera-Benito contends that counsel could have raised

           the issue of competency and obtained a more favorable plea agreement if he had

           recognized the mental retardation before the guilty plea. (Id. at 21-22.)

                 However, counsel suggested at the plea colloquy that he was aware of Mr.

           Rivera-Benito’s difficulty understanding legal proceedings. Counsel stated that he

           spent approximately three and one-half hours “painstakingly” reviewing the plea

           agreement with Mr. Rivera-Benito on the day before the plea colloquy. (Tr. 11.)

           Counsel also stated his belief that Mr. Rivera-Benito was pleading guilty knowingly

           and voluntarily. (Id. at 19-20.) It does not appear from the transcript of the plea

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           colloquy that counsel was deficient. Even if the undersigned assumes that counsel’s

           investigation of the case was deficient, Mr. Rivera-Benito has not shown prejudice.

           Mr. Rivera-Benito does not assert that he would have insisted on going to trial if he had

           known that counsel was unaware of the mental retardation prior to the guilty plea.

           Therefore, ground two fails.

                 C.     Voluntariness of Guilty Plea

                 In ground three, Mr. Rivera-Benito claims that his “guilty plea was not

           knowingly, intelligently, and voluntarily entered.” (Mot. Vacate 7.) Quoting Dr.

           Herrera’s report in part, Mr. Rivera-Benito states that his “mental retardation, limited

           verbal abilities, ‘poor memory, limited understanding of what goes on around him, and

           significantly decreased ability to use conceptual skills,’ rendered his plea unknowing

           and involuntary.” (Movant’s Br. 23.) Mr. Rivera-Benito also contends that: (1) the

           plea agreement was too complicated for him to understand; (2) he “did not understand

           many of the questions” during the plea colloquy; (3) “mentally retarded individuals

           often answer in the affirmative in order to mask their lack of understanding or to please

           authority figures”; and (4) he did not have knowledge of methamphetamine and the

           concepts of conspiracy and appeal when evaluated by Dr. Flores. (Id. at 23-24.)




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                  “[T]he voluntariness and intelligence of a guilty plea can be attacked on

           collateral review only if first challenged on direct review.” Bousley v. United States,

           523 U.S. 614, 621 (1998). Mr. Rivera-Benito did not appeal, and therefore, his claim

           is procedurally defaulted.6 He does not attempt to overcome the default by showing

           cause and actual prejudice or demonstrating actual innocence. Accordingly, ground

           three fails.

           IV.    CERTIFICATE OF APPEALABILITY

                  Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

           must issue or deny a certificate of appealability when it enters a final order adverse to

           the applicant. . . . If the court issues a certificate, the court must state the specific issue

           or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Section

           2253(c)(2) states that a certificate of appealability may issue “only if the applicant has

           made a substantial showing of the denial of a constitutional right.” A substantial

           showing of the denial of a constitutional right “includes showing that reasonable jurists


                  6
                   “Generally, a defendant who pleads guilty is precluded from challenging his
           conviction on appeal, except on the ground that the plea was involuntary.” United
           States v. Hoobler, 252 F. App’x 983, 989 (11th Cir. 2007) (citing United States v.
           Kaiser, 893 F.2d 1300, 1302 (11th Cir. 1990)). Therefore, the appeal waiver in Mr.
           Rivera-Benito’s plea agreement would not have prevented him from raising the
           voluntariness of his guilty plea on appeal. See id.

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           could debate whether (or, for that matter, agree that) the [motion to vacate] should have

           been resolved in a different manner or that the issues presented were adequate to

           deserve encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473, 484

           (2000) (internal quotation marks omitted).

                 When the district court denies a [motion to vacate] on procedural grounds
                 without reaching the prisoner’s underlying constitutional claim . . . a
                 certificate of appealability should issue only when the prisoner shows both
                 that jurists of reason would find it debatable whether the petition states a
                 valid claim of the denial of a constitutional right and that jurists of reason
                 would find it debatable whether the district court was correct in its
                 procedural ruling.

           Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (citing Slack, 529 U.S. at 484)

           (internal quotation marks omitted).

                 The undersigned recommends that a certificate of appealability be denied

           because the resolution of the issues presented is not debatable. If the Court adopts this

           recommendation and denies a certificate of appealability, Mr. Rivera-Benito is advised

           that he “may not appeal the denial but may seek a certificate from the court of appeals

           under Federal Rule of Appellate Procedure 22.” 28 U.S.C. foll. § 2255, Rule 11(a).

           V.    CONCLUSION

                 For the reasons stated above, the undersigned RECOMMENDS that the Motion

           to Vacate [146] be DENIED and that a certificate of appealability be DENIED.

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                The Clerk is DIRECTED to terminate the referral to the Magistrate Judge.

                SO RECOMMENDED, this 11th day of September, 2013.




                                        WALTER E. JOHNSON
                                        UNITED STATES MAGISTRATE JUDGE




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